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                                UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION


     JAMIE LYNN HOLMES,
             Plaintiff,
                                                                 1:17-cv-03995-WTL-MPB
     v.

     CREDIT PROTECTION                                         DEMAND FOR JURY TRIAL
     ASSOCIATION, L.P.,
             Defendant.


                              PARTIES’ PROPOSED DISCOVERY PLAN

             This is a Telephone Consumer Protection Act, 47 U.S.C. §227(b) case, based upon

 allegedly nonconsensual, improper automated and prerecorded phone calls to Plaintiff’s cell

 phone. Prior Plaintiff counsel was disqualified by court order; the undersigned Plaintiff counsel

 is new to the case. Plaintiff’s counsel has indicated to Defense counsel that Plaintiff intends to

 request leave to file an amended complaint that contains class allegations.

          The parties hereby submit the following discovery plan. 1

          1. Initial Disclosures and Discovery Status: Initial disclosures have been completed. Initial
             written discovery requests have been exchanged, with initial objections and some
             responses provided. Plaintiff will be re-issuing much of the already propounded
             discovery. The parties have begun discussing the meet and confer process on the
             operative discovery responses. No depositions have been taken.

          2. Amendments to Pleadings.

                 a. Plaintiff proposes a Fed.R.Civ.P. 16(b)(3)(A) deadline of February 28, 2019 for any
                    party’s amendments to pleadings. Plaintiff intends to seek leave to file an amended
                    complaint to assert class claims before December 14, 2018.
                 b. Defendant states: As explained below, the parties have been unable to agree on
                    how to address the proposed amendment or what would be a reasonable time line


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   Plaintiff proposes a schedule that contemplates nine months for discovery from the time of the filing of this
 schedule, and Defendant proposes a schedule that contemplates four months. The parties defer to the Court on which
 to adopt, or something different.


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                for discovery. As such, Defendant suggests a short telephonic conference would
                assist the parties and the Court.

                Defendant does not think that a February 28, 2019 deadline is appropriate, but given
                Plaintiff's explanation that the request to amend will be with a motion, Defendant will
                respond to any motion filed, and defers to the Court on whether there should be a
                deadline, and what would be an appropriate deadline to set.

    3. Plaintiff shall serve Defendant (but not file with the Court) a statement of special damages, if
       any, and make a settlement demand, on or before January 9, 2019. Defendant shall serve on
       the Plaintiff (but not file with the Court) a response thereto within 30 days after receipt of the
       demand.

    4. Preliminary witness and exhibit lists:
           a. Plaintiff proposes she shall file revised preliminary witness and exhibit lists on or
              before March 30, 2019, and Defendant proposes this be completed by January 31,
              2019.
           b. Plaintiff proposes Defendant shall file preliminary witness and exhibit lists on or
              before March 14, 2019, and Defendant proposes this be completed by February
              15, 2018

    5. Fact discovery: closes Plaintiff proposes August 30, 2019. Defendant proposes March 29,
       2018.

    6. Expert Discovery Schedule:
          a. Initial reports from the party with the burden of proof: Plaintiff proposes
              September 30, 2019 and Defendant proposes April 30, 2019;
          b. Response reports: Plaintiff proposes October 30, 2019 and Defendant proposes
              May 31, 2019;
          c. Rebuttal reports, if any: Plaintiff proposes November 30, 2019 and Defendant
              proposes June 28, 2019.

 Filed with Defense counsel’s authorization.

                                                        /s/Alexander H. Burke
                                                        Counsel for Plaintiff

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